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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ACADEMY OF ALLERGY & ASTHMA IN                    §
PRIMARY CARE AND UNITED                           §
BIOLOGICS, LLC D/B/A UNITED                       §
ALLERGY SERVICES
                                                  §
               Plaintiffs,                        §
                                                           Civil Action No. 5:17-CV-1295
                                                  §
v.                                                §
                                                  §
QUEST DIAGNOSTICS, INC.                           §
                                                  §
                 Defendant.                       §


                         PLAINTIFFS’ NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i), Plaintiffs Academy of

Allergy & Asthma in Primary Care and United Biologics, LLC d/b/a United Allergy Services do

not intend to replead their claims against Quest Diagnostics, Inc., and hereby file this dismissal

as to Quest Diagnostics, Inc. with prejudice. This notice is intended to dismiss only Plaintiffs’

claims against Quest Diagnostics, Inc. so that this case may be closed, and is not intended to

waive or otherwise prejudice claims involving any non-parties to this case.

       There having been no answer, motion for summary judgment, or counterclaim filed in

this action, this notice is filed so that this case may be closed by the Clerk of the Court without

further action by the parties or the Court.

DATED: November 4, 2022.
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                           Respectfully submitted,


                           PILLSBURY WINTHROP SHAW PITTMAN LLP

                           By: /s/ Casey Low
                               Casey Low
                               Texas Bar No. 24041363
                               Dillon Ferguson
                               Texas Bar No. 06911700
                               401 Congress Ave., Suite 1700
                               Austin, Texas 78701-4061
                               Phone: (512) 580-9600
                               Fax: (512) 580-9601
                               casey.low@pillsburylaw.com
                               dillon.ferguson@pillsburylaw.com


                           ATTORNEYS FOR PLAINTIFFS
                           AAAPC & UAS




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel of record.



                                           /s/ Casey Low
                                           Casey Low




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